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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------x
 SECURITIES AND EXCHANGE
 COMMISSION,

                                 Plaintiff,                    MEMORANDUM & ORDER
                                                                21-CV-5350 (PKC) (JAM)
                   - against -

  RICHARD XIA, a/k/a YI XIA; and FLEET
  NEW YORK METROPOLITAN REGIONAL
  CENTER, LLC, f/k/a FEDERAL NEW YORK
  METROPOLITAN REGIONAL CENTER,
  LLC,
                        Defendants,

                     - and -

  JULIA YUE, a/k/a JIQING YUE; XI
  VERFENSTEIN; and XINMING YU,

                                 Relief Defendants.
  -------------------------------------------------------x
 PAMELA K. CHEN, United States District Judge:

          Plaintiff Securities & Exchange Commission (the “SEC”) brings this civil enforcement

 action against Defendants Richard Xia (“Xia”) and Fleet New York Metropolitan Regional Center,

 LLC (“Fleet”) (together, the “Defendants”) for violations of various federal securities laws, and

 against Relief Defendants Julia Yue (“Relief Defendant Yue”), Xi Verfenstein, and Xinming Yu

 (collectively, the “Relief Defendants”) for unjust enrichment as a result of the alleged violations

 by Defendants. After more than two years of intense negotiations between the Parties 1 to resolve

 the matter, they have reached a settlement in principle to resolve the SEC’s action and have




          1
          The Court refers to the SEC, Defendants, and Relief Defendant Yue collectively as the
 “Parties.”
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 executed a consent to the entry of a final judgment in this matter (the “Consent”). Subsequently,

 the five-member Commission approved the Parties’ settlement in principle.

        Presently before the Court is the SEC’s unopposed motion, seeking (1) approval of the

 Consent as to Defendants and Relief Defendant Yue; (2) entry of a proposed final judgment

 incorporating the Consent (the “Proposed Final Judgment”); and (3) the appointment of a

 distribution administrator in connection with the settlement and the Proposed Final Judgment. For

 the reasons set forth below, the Court grants the SEC’s motion.

                                        BACKGROUND

        The general background of this case is set forth in the Court’s previous opinions. 2

 Therefore, the Court assumes the Parties’ familiarity with the facts, and recites only the

 background relevant to the instant motion.

 I.     The SEC’s Action

        On September 27, 2021, the SEC commenced this action against Defendants and Relief

 Defendant Yue. (See Compl., Dkt. 1, ¶¶ 27–30.) On April 6, 2022, the SEC amended its

 Complaint to add Relief Defendants Xi Verfenstein and Xinming Yu. (See Am. Compl., Dkt. 98,

 ¶¶ 33–38.) In substance, the SEC alleges that, between early 2010 and late 2017, Defendants

 fraudulently obtained more than $229 million by offering and selling limited partnership interests



        2
          The procedural history and factual background of this litigation has been detailed
 extensively in various opinions by the Court, including the Court’s December 8, 2022
 Memorandum & Order issuing the asset-freezing preliminary injunction (“Preliminary
 Injunction”), the Court’s March 4, 2024 Memorandum & Order granting Intervenor CTBC Bank
 Corp. (USA)’s (“CTBC”) motion to intervene in this action, and the Court’s July 9, 2024
 Memorandum & Order granting CTBC’s motion to modify the Preliminary Injunction and to
 appoint a receiver. See, e.g., SEC v. Xia, No. 21-CV-5350 (PKC) (RER), 2022 WL 17539124, at
 *1–10 (E.D.N.Y. Dec. 8, 2022), appeal filed, No. 22-3137 (2d Cir.); SEC v. Xia, No. 21-CV-5350
 (PKC) (JAM), 2024 WL 964676, at *1–5 (E.D.N.Y. Mar. 4, 2024); SEC v. Xia, No. 21-CV-5350
 (PKC) (JAM), 2024 WL 3447849, at *1–5 (E.D.N.Y. July 9, 2024).

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 to over 450 Chinese nationals who participated in the EB-5 Immigrant Investor Program (the “EB-

 5 investors”) administered by United States Citizenship and Immigration Services (“USCIS”), and

 then misappropriated the investor funds for personal expenses. (See id. ¶¶ 1–2, 4, 78–100.) The

 SEC alleges that Defendants’ actions, which amounted to investor fraud, violated Section 17(a) of

 the Securities Act of 1933 (the “Securities Act”), 15 U.S.C. §§ 77q(a), and Section 10(b) of the

 Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78j(b) and Rule 10b-5

 thereunder, 17 C.F.R. § 240.10b-5. (Id. ¶¶ 191–96.) The SEC also alleges that Defendants’

 unlawful diversion of investor funds unjustly enriched Relief Defendants. (See id. ¶¶ 12, 23–26,

 197–99.)

        Along with its September 27, 2021 Complaint, the SEC moved for a temporary restraining

 order (“TRO”), inter alia, freezing Defendants’ and Relief Defendant Yue’s assets and appointing

 a Monitor, and for a preliminary injunction continuing the same asset freeze throughout the

 pendency of this action to preserve the status quo and ensure that sufficient assets would be

 available to compensate the defrauded investors. (See Dkts. 2–8; Dkt. 2, at 2; see also Dkt. 103,

 at 25.) On the same day, the Court granted the SEC’s motion for a TRO and appointed M. Scott

 Peeler as Monitor (the “Monitor Order”). (See Dkt. 11.) Subsequently, on April 6, 2022, the SEC

 moved to expand the scope of the existing asset freeze and its requested preliminary injunction as

 to Relief Defendants. (See Dkts. 99–102.)

        On December 8, 2022, after considering the Parties’ extensive evidentiary submissions and

 holding a three-day show-cause hearing (see 2/14/2022, 2/15/2022 & 2/16/2022 Min. Entries), the

 Court issued the Preliminary Injunction that, among other things, instituted a complete asset freeze

 subject to certain carve-outs that covered all of Defendants’ assets and Relief Defendants’




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 residential properties for the duration of two years. 3 See SEC v. Xia, No. 21-CV-5350 (PKC)

 (RER), 2022 WL 17539124, at *31 (E.D.N.Y. Dec. 8, 2022), appeal filed, No. 22-3137 (2d Cir.);

 see also generally SEC v. Xia, No. 21-CV-5350 (PKC) (RER), 2022 WL 20543271 (E.D.N.Y.

 Dec. 8, 2022), appeal filed, No. 22-3137 (2d Cir.).

        In the Amended Complaint, the SEC seeks (1) injunctive relief that permanently enjoins

 Defendants from violating federal securities laws; (2) disgorgement of “all ill-gotten and/or unjust

 enrichment” that Defendants and Relief Defendants received as a result of the alleged violations,

 plus pre-judgment interest, pursuant to Sections 21(d)(5) and 21(d)(7) of the Exchange Act, 15

 U.S.C. §§ 78u(d)(5) and 78u(d)(7); (3) civil monetary penalties from Defendants pursuant to

 Section 20(d) of the Securities Act, 15 U.S.C. § 77t(d) (“Section 20(d)”), and Section 21(d)(3) of

 the Exchange Act, 15 U.S.C. § 78u(d)(3) (“Section 21(d)(3)”); and (4) continuing the appointment

 of the Monitor and continuing the TRO for the duration of the case. (See Am. Compl., Dkt. 98, at

 50–51.)

 II.    The Parties’ Settlement Negotiations

        On January 23, 2024—after more than two years of intense litigation and settlement

 negotiations—the Parties reached a settlement in principle, and Defendants and Relief Defendant

 Yue delivered to the SEC “a signed and notarized consent to judgment reflecting the [P]arties’

 agreement in principle.” (Dkt. 388, at 1.) On April 12, 2024, Defendants and Relief Defendant

 Yue delivered to the SEC a signed, revised consent to a final judgment. (See Dkt. 415; 4/12/2024

 Docket Order.) In the ensuing months, the Parties reached resolution on all then-outstanding




        3
         In light of the Parties’ settlement in principle, the Court, at the Parties’ joint request,
 extended the expiration date of the Preliminary Injunction to March 20, 2025. (See Dkt. 415, at 1;
 Dkt. 416, at 2.)

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 matters surrounding the settlement in principle (see Dkt. 435), after which the settlement was

 submitted to the five-member Commission (the “Commission”) for review (see Dkt. 440). On

 June 21, 2024, the Commission finally approved the terms of the Parties’ settlement in principle.

 (See Dkt. 443.) On July 5, 2024, the SEC filed the instant motion, requesting, inter alia, that the

 Court approve the Consent with Defendants and Relief Defendant Yue and enter the Proposed

 Final Judgment that incorporates the terms of the Consent. 4 (See Dkt. 450.) No opposition has

 been filed.

 III.    The Consent and Proposed Final Judgment

             The Consent and Proposed Final Judgment settle all of the SEC’s claims against

 Defendants and Relief Defendant Yue in this action. (See Consent, ¶ 15.) In exchange, Defendants

 and Relief Defendant Yue consent to entry of the Proposed Final Judgment “without admitting or

 denying the allegations” in the Amended Complaint (with certain exceptions), and waive the right,

 if any, to appeal from the entry of the Proposed Final Judgment. (Consent, ¶¶ 2, 10; Proposed

 Final J., at 1.)

         Specifically, Defendants and Relief Defendant Yue, in sum and substance, agree to: (1)

 permanent injunctions that enjoin Defendants from committing future violations of Section 10(b)

 of the Exchange Act and Rule 10b-5 thereunder, and Section 17(a) of the Securities Act, bar Fleet

 from participating in future securities offerings, and enjoin Xia from future securities offerings

 with certain limited carveouts (see Consent, ¶ 2(a)–(b); Proposed Final J., Parts I, II, III); (2)

 disgorgement of $228,500,000, representing net profits gained as a result of the conduct alleged



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           The Proposed Final Judgment incorporates the Consent “with the same force and effect
 as if fully set forth” herein, and orders Defendants to “comply with all of the undertakings and
 agreements set forth” in the Consent. (Consent, Dkt. 450-2, Ex. A (“Consent”), ¶ 12; Proposed
 Final J., Dkt. 450-3, Ex. B (“Proposed Final J.”), Parts VIII, IX.)

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 in the Amended Complaint (see Consent, ¶ 2(c); Proposed Final J., Part IV); (3) pre-judgment

 interest in the amount of $25,000,000 (see Consent, ¶ 2(c); Proposed Final J., Part IV); (4) civil

 monetary penalties of $3,101,745 5 from Xia and of $15,538,635 from Fleet (see Consent, ¶ 2(c);

 Proposed Final J., Part IV); (5) a two-step procedure for effectuating the payment of disgorgement,

 pre-judgment interest, and civil penalties (see Consent, ¶ 2(d); Proposed Final J., Part V); and (6)

 an order allowing the SEC to establish a “Fair Fund” to hold disgorgement, pre-judgment interest,

 and civil penalties for distribution (see Consent, ¶ 7; Proposed Final J., Part VI). Further, as part

 of the settlement, Xia agrees to relinquish any direct and/or indirect control and ownership of Fleet

 and to certify in writing his compliance. (See Consent, ¶¶ 2(i), 3(c); Proposed Final J., Parts VII,

 VIII(b)).

 IV.    Appointment of a Distribution Administrator

        Importantly, the terms of the Parties’ settlement also include a distribution process intended

 to preserve the rights of the EB-5 investors in the EB-5 program. (See SEC Br., at 2–3, 5–6.)

 Specifically, a Court-appointed distribution administrator will determine each EB-5 investor’s

 preference concerning their investment in the program and accordingly implement such

 preference, that is, whether they want to receive a pro rata share of the funds to be distributed to



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           While the SEC represents in its brief supporting the instant motion that $3,101,745 in
 civil penalties that Xia has agreed to pay in the Consent “are equal to the penalty amounts the
 Court previously calculated” in the December 8, 2022 Memorandum & Order (see Pl.’s Mem. of
 Law in Supp. of Its Unopposed Mot., Dkt. 450-1 (“SEC Br.”), at 9), that is incorrect. In fact, in
 that decision, the Court held that the amount of civil penalties the SEC could seek from Xia is
 $3,107,745—a difference of $6,000. See Xia, 2022 WL 17539124, at *30 (finding that “[u]sing
 the correct time frame, the SEC may only seek penalties for a 15-month period during which
 Defendants received investor payments, . . . $15,538,635 for Fleet, $3,107,745 for Xia, and
 $18,646,380 in total”) (emphasis added). However, notwithstanding the Court’s prior calculation,
 the Parties were free to negotiate the amount of civil penalties to be paid by Xia, and thus the Court
 does not disturb the civil penalty amount of $3,101,745 provided for as to Xia in the Consent and
 Proposed Final Judgment. (See Consent, ¶ 2(c); Proposed Final J., Part IV.)

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 investors or, alternatively, whether they want to attempt to remain in the EB-5 program to continue

 to pursue permanent residency status. (See id.) For the purpose of implementing this distribution

 process, the SEC’s instant motion also seeks the appointment of a distribution administrator to

 undertake a number of responsibilities, including: (1) drafting and proposing to the Court a

 distribution plan that includes the above-mentioned distribution process by which the distribution

 administrator will determine each EB-5 investor’s preference concerning the return of their

 invested funds or remaining in the EB-5 program; (2) notifying the EB-5 investors of the Parties’

 settlement and the EB-5 investors’ options; (3) distributing the funds to the EB-5 investors who

 elect to receive a pro rata share of the funds; (4) implementing the distribution plan as to the EB-

 5 investors who choose to attempt to remain in the EB-5 program; and (5) answering questions

 from the EB-5 investors regarding the distribution process. (See id. at 5–6.)

        Specifically, the SEC recommends the appointment of Robert Seiden, Esq., the Managing

 Partner of Seiden Law LLP, as the distribution administrator to oversee and implement the

 distribution process to preserve the EB-5 investors’ rights. (See id. at 7, 11–12.)

                                           DISCUSSION

 I.     Motion for Approval of the Consent and Entry of the Proposed Final Judgment

        For the reasons discussed below, the Court grants the SEC’s motion for approval of the

 Consent and entry of the Proposed Final Judgment incorporating the Consent.

        A.      Legal Standard

        The Second Circuit upholds a “strong federal policy favoring the approval and enforcement

 of consent decrees.” SEC v. Citigroup Glob. Mkts., Inc., 752 F.3d 285, 293 (2d Cir. 2014) (quoting

 SEC v. Wang, 944 F.2d 80, 85 (2d Cir. 1991)) (internal quotation marks omitted). While a district

 court considering whether to approve a consent decree does not merely operate as a “rubber


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 stamp,” id., “its review of a proposed consent decree is . . . more deferential in the context of a

 government enforcement action[.]” United States v. N.Y.C. Hous. Auth., 347 F. Supp. 3d 182,

 197–98 (S.D.N.Y. 2018) (citing SEC v. Caledonian Bank Ltd., 317 F.R.D. 358, 374 n.15 (S.D.N.Y.

 2016)); see also Cruz v. JKS Ventures, Inc., No. 23-CV-8311 (LJL), 2024 WL 814563, at *5

 (S.D.N.Y. Feb. 26, 2024) (“[The Second Circuit’s opinion in] Citigroup suggests that district

 court[’s] review of a consent decree proposed by a government enforcement agency should be

 more relaxed than [its] review of a consent decree proposed by two private parties.”). As such, a

 district court is bound to approve a proposed consent judgment so long as the judgment is “fair

 and reasonable.” Citigroup, 752 F.3d at 294. In addition, where, as here, a proposed consent

 judgment contains injunctive relief, the district court must find that the “public interest would not

 be disserved” by entry of the judgment. Id. (quoting eBay, Inc. v. MercExchange, 547 U.S. 388,

 391 (2006)).

        Although the court should “establish that a factual basis exists for the proposed decree,”

 the parties generally can meet this requirement by “setting out the colorable claims, supported by

 factual averments by the S.E.C., neither admitted nor denied by the wrongdoer[.]” Id. at 295.

 “Absent a ‘substantial basis in the record’ to conclude that the consent decree is not fair and

 reasonable or that the public interest would be disserved, ‘the district court is required to enter the

 order,’ irrespective of the adequacy of the consent decree.” N.Y.C. Hous. Auth., 347 F. Supp. 3d

 at 198 (quoting Citigroup, 752 F.3d at 294) (emphasis added).

        B.      Analysis

        Having reviewed the terms of the Consent and Proposed Final Judgment, in light of the

 Citigroup standard, the Court finds that the Consent and Proposed Final Judgment are fair,

 reasonable, and in the public interest. The Court explains those findings in more detail below.



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                 1.      The Consent and Proposed Final Judgment are Fair and Reasonable

         In Citigroup, a case involving an SEC consent decree, the Second Circuit identified factors

 that district courts “should, at a minimum, assess” in reviewing a government agency’s consent

 decree for fairness and reasonableness: “(1) the basic legality of the decree; (2) whether the terms

 of the decree, including its enforcement mechanism, are clear; (3) whether the consent decree

 reflects a resolution of the actual claims in the complaint; and (4) whether the consent decree is

 tainted by improper collusion or corruption of some kind.” Citigroup, 752 F.3d at 294–95 (internal

 citations omitted). When evaluating these factors, “[t]he primary focus of the inquiry . . . should

 be on ensuring the consent decree is procedurally proper, using objective measures similar to the

 [four] factors . . . [and] taking care not to infringe on the S.E.C.’s discretionary authority to settle

 on a particular set of terms.” Id. at 295.

         Here, the Court finds that all four Citigroup factors weigh in favor of finding the Consent

 and Proposed Final Judgment to be fair and reasonable.

                         a. Basic Legality of the Consent and Proposed Final Judgment

         First, the Court finds that the Consent and Proposed Final Judgment satisfy the “basic

 legality” factor. “A proposed consent judgment with the U.S. government is legal as long as the

 court has authority to enter the judgment and the plaintiff has authority to enforce it.” Acosta v.

 Bratcher, 343 F. Supp. 3d 108, 112 (W.D.N.Y. 2018) (citing Caledonian Bank, 317 F.R.D. at 370;

 Benjamin v. Jacobson, 172 F.3d 144, 158 (2d Cir. 1999) (en banc)). In analyzing this factor, courts

 in this Circuit have examined “whether the relevant statutes under which the action was brought

 permit the relief requested in the consent decree.” N.Y.C. Hous. Auth., 347 F. Supp. 3d at 200; see

 also e.g., Caledonian Bank, 317 F.R.D. at 370 (examining whether the proposed decree’s

 injunctive relief and disgorgement provisions fell within the SEC’s authority under the federal

 securities laws); Untied States v. Int’l Bus. Machs., No. 14-CV-936 (KMK), 2014 WL 3057960,
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 at *2 (S.D.N.Y. July 7, 2014) (determining whether the provisions for the defendant’s

 reimbursement of “response costs” incurred by the Environmental Protection Agency and the

 defendant’s agreement to take future remedial action comported with the Comprehensive

 Environmental Response, Compensation, and Liability Act).

         Here, the terms of the Consent and Proposed Final Judgment boil down to three essential

 provisions: injunctive relief, disgorgement with pre-judgment interest, and civil penalties.

 Pursuant to relevant statutes and case law, the Court has authority to enter a judgment in this action

 for injunctive and monetary relief, and the SEC has authority to enforce that judgment. First, the

 Consent and Proposed Final Judgment provide for injunctive relief that, inter alia, permanently

 enjoins Defendants from committing future violations of federal securities laws, “which is plainly

 within the SEC’s authority” to seek and the Court’s authority to grant. Caledonian Bank, 317

 F.R.D. at 370; see also 15 U.S.C. § 77t(b) (“Whenever it shall appear to the [SEC] that any person

 is engaged or about to engage in any acts or practices which constitute or will constitute a violation

 of the provisions of [the Securities Act], the [SEC] may, in its discretion, bring an action in any

 district court . . . to enjoin such acts or practices[.]”); 15 U.S.C. § 78u(d)(1) (“Whenever it shall

 appear to the [SEC] that any person is engaged or is about to engage in acts or practices constituting

 a violation of [the Exchange Act], it may in its discretion bring an action in the proper district court

 . . . to enjoin such acts or practices[.]”)); SEC v. Genovese, 553 F. Supp. 3d 24, 45 (S.D.N.Y. 2021)

 (“The Securities Act [and the Exchange Act] each authorize the SEC to seek injunctive relief to

 proscribe future violations of federal securities laws, which a court shall grant upon the proper

 showing.” (citing, inter alia, 15 U.S.C. § 77t(b); 15 U.S.C. § 78u(d)(1))).

         Second, the Consent and Proposed Final Judgment require Defendants and Relief

 Defendant Yue to disgorge $228,500,000, plus $25,000,000 in pre-judgment interest, pursuant to



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 Section 20(d) and Section 21(d)(3). (See Consent, ¶ 2(c); Proposed Final J., Part IV.) Seeking

 such disgorgement is plainly with the SEC’s authority. See Caledonian Bank, 317 F.R.D. at 370

 (“The SEC may also seek disgorgement: a ‘reasonable approximation of profits causally connected

 to the [securities] violation.’” (quoting SEC v. Contorinis, 743 F.3d 296, 300 (2d Cir. 2014))). “As

 with the award of disgorgement, the Court has broad discretion whether to grant pre[-]judgment

 interest and what rate to use for calculation.” SEC v. Premier Links, Inc., No. 14-CV-7375 (CBA)

 (ST), 2022 WL 5422661, at *5 (E.D.N.Y. July 27, 2022), R&R adopted, 2022 WL 4118519

 (E.D.N.Y. Sept. 9, 2022). Here, the disgorgement amount of $228,500,000, which is equal to the

 total amount that Defendants raised from the EB-5 investors, 6 represents a “reasonable

 approximation” of Defendants’ profits gained as a result of the fraudulent conduct alleged in the

 Amended Complaint. (Proposed Final J., Part IV.) Therefore, the terms regarding disgorgement

 and pre-judgment interest set forth in the Consent and Proposed Final Judgment meet the “basic

 legality” factor. See Premier Links, 2022 WL 5422661, at *4–5, 7 (finding SEC’s proposed

 consent judgments seeking, inter alia, disgorgement of the investor money and pre-judgment

 interest were legal pursuant to Section 20(d), Section 21(d)(3), and Section 21(d)(7) of the

 Exchange Act).

        Lastly, the Consent and Proposed Final Judgment provide for civil monetary penalties of

 $18,646,380, which amounts to $3,101,745 for Xia and $15,538,635 for Fleet. 7               “In an


        6
          This amount is “less certain administrative fees Defendants obtained from the EB-5
 [i]nvestors and that were paid to third-party agents who recruited investors.” (SEC Br., at 9.)
        7
           The Court discussed the methodologies for calculating these numbers in its December 8,
 2022 Memorandum & Order issuing the Preliminary Injunction. See Xia, 2022 WL 17539124, at
 *30 & n.43. There, the Court explained that it had reached these figures by multiplying the number
 of months—after March 27, 2016—where Defendants received payments from investors (see Dkt.
 6-48, at ECF 29‒31), by the “maximum penalty” available “for third-tier violations occurring after
 November 2, 2015,” namely, “$207,183 per violation [for a person] and $1,035,909 per violation
 for entities.” (Dkt. 182, at 19.) The discrepancy between the civil penalty amount calculated in
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 enforcement action in federal district court, the SEC may seek civil penalties to discourage a

 defendant from attempting to engage in unlawful action in the future.” Caledonian Bank, 317

 F.R.D. at 370 (citing SEC v. Razmilovic, 738 F.3d 14, 38 (2d Cir. 2013)); see also Premier Links,

 2022 WL 5422661, at *6 (“Both the Securities Act and the Exchange Act authorize three tiers of

 monetary penalties for violations of the securities laws.” (citing Section 20(d); Section 21(d)(3)).

         Based on the foregoing, the Court finds that the Consent and Proposed Final Judgment

 satisfy the basic legality requirement. 8

                         b. Clarity of the Consent and Proposed Final Judgment

         The Court also finds that the terms of the Consent and Proposed Final Judgment, including

 the enforcement mechanisms, are clear. “A consent decree is clear when it properly defines its

 key provisions.” In re N.Y.C. Policing During Summer 2020 Demonstrations, No. 20-CV-8924

 (CM) (GWG), 2024 WL 476367, at *15 (S.D.N.Y. Feb. 7, 2024) (quoting Int’l Bus. Machs., 2014

 WL 3057960, at *3) (internal quotation marks omitted); see also King v. Allied Vision, Ltd., 65

 F.3d 1051, 1058 (2d Cir. 1995) (“A clear and unambiguous order is one that leaves no uncertainty

 in the minds of those to whom it is addressed . . . who must be able to ascertain from the four

 corners of the order precisely what acts are forbidden[.]” (internal quotation marks and citations

 omitted)). Specifically, courts in this Circuit have found consent judgments to be sufficiently clear

 where the judgment details, inter alia, the parties’ agreement, the defendant’s responsibilities, and



 the December 8, 2022 Memorandum & Order as to Xia and the civil penalty amount assessed
 against him in the Consent and Proposed Final Judgment is discussed supra at footnote 5.
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          As to other equitable relief set forth in the Consent and Proposed Final Judgment, the
 “basic legality” requirement is also met. See 15 U.S.C. § 78u(d)(5) (“In any action or proceeding
 brought or instituted by the [SEC] under any provision of the securities laws, the [SEC] may seek,
 and any Federal court may grant, any equitable relief that may be appropriate or necessary for the
 benefit of investors.”).

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 enforcement mechanisms under the judgment. See Acosta, 343 F. Supp. 3d at 113 (explaining that

 a proposed consent judgment was clear because it “specifically state[d] exactly what injunctive

 relief [was] proposed, how much [d]efendants [were] ordered to pay, the form of payment, the

 time schedule for doing so, [and] how [d]efendants [would] distribute the payments”); Int’l Bus.

 Machs., 2014 WL 3057960, at *3 (holding that a consent decree was “sufficiently specific” as it

 “defin[ed] key terms,” detailed “specific enforcement mechanisms,” and specified “Defendant’s

 responsibilities under the decree”); United States v. Chestnut Petroleum Dist., Inc., No. 19-CV-

 3904 (PMH), 2020 WL 5505298, at *2 (S.D.N.Y. Sept. 11, 2020) (holding that the clarity factor

 met because the proposed consent decree outlined the defendants’ agreement to pay civil penalties

 and the process associated therewith, “the injunctive relief and reporting requirements,” and “the

 parties’ agreement for stipulated penalties for violating the agreement”); Su v. Cmty. Health Ctr.

 of Richmond, Inc., No. 21-CV-3094 (ARR) (TAM), 2024 WL 333625, at *2 (E.D.N.Y. Jan. 8,

 2024) (finding that the proposed consent judgment was “exceedingly clear” because it laid out,

 among other things, to whom the judgment applied, under which provision the plaintiff filed her

 complaint, the injunctive relief proposed, the amount that the defendants must pay, and the

 procedures for effectuating the payment).

        Here, the Consent and Proposed Final Judgment are sufficiently clear. First, they lay out

 to whom the Consent and Proposed Final Judgment apply, i.e., Defendants and Relief Defendant

 Yue, and what the alleged violations are. (See Consent, ¶¶ 1, 2(a); Proposed Final J., at 1, Parts I–

 II.) In addition, the Consent and Proposed Final Judgment outline the injunctive relief that was

 agreed to by the Parties, including specific, limited carveouts applicable to Xia. (See Consent,

 ¶¶ 2(a)–(b); Proposed Final J., Parts. I–III).    Furthermore, the Consent and Proposed Final

 Judgment identify the obligations of Defendants and Relief Defendant Yue in terms that are



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 specific and clear. Specifically, Defendants and Relief Defendant Yue are required to pay

 disgorgement, pre-judgment interest, and, as to Defendants, civil monetary penalties (see Consent,

 ¶ 2 (c); Proposed Final J., Part IV); Xia is required to relinquish any direct and/or indirect control

 and ownership of Fleet and to certify in writing his compliance (see Consent, ¶¶ 2(i), 3(c);

 Proposed Final J., Parts VII, VIII(b)); and Defendants are required to provide “reasonable

 cooperation” to the EB-5 investors to assist them in obtaining benefits under the EB-5 program

 (see Consent, ¶ 2(f); Proposed Final J., Part X). Moreover, the Consent and Proposed Final

 Judgment specifically state “the form of payment, the time schedule for doing so, where the

 payments should be sent, and what [the SEC] will do with them once received.” Acosta v. Agave

 Elmwood Inc., No. 17-CV-605 (EAW), 2018 WL 5519540, at *3 (W.D.N.Y. Oct. 29, 2018); (see

 Consent, ¶ 2(d); Proposed Final J., Part V). What is more, the enforcement mechanisms are clear.

 The Consent and Proposed Final Judgment set forth the procedures in the event that Defendants

 and Relief Defendant Yue fail to fulfill their obligations. (See, e.g., Proposed Final J., Part IV

 (“The [SEC] may enforce the Court’s judgment for disgorgement and pre[-]judgment interest by

 using all collection procedures authorized by law, including, but not limited to, moving for civil

 contempt at any time after the Second Payment Date. . . . The [SEC] may enforce the Court’s

 judgment for penalties by the use of all collection procedures authorized by law, including the

 Federal Debt Collection Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt

 for the violation of any Court orders issued in this action. Defendants and Relief Defendant [Yue]

 shall pay post judgment interest on any amounts due after 30 days from the entry of this Final

 Judgment pursuant to 28 U.S.C. § 1961.”); id., Part V(b) (“If Defendants and/or Relief Defendant

 fail to make any payment by the date agreed and/or in the amount agreed according to the schedule

 set forth above, all outstanding payments under this Final Judgment, including post-judgment



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 interest, minus any payments made, shall become due and payable immediately at the discretion

 of the staff of the Commission without further application to the Court.”).)

        The Court therefore finds that the Consent and Proposed Final Judgment “will leave no

 uncertainty in the minds of Defendants [and Relief Defendant Yue], and consequently its terms

 meet the clearness standard.” Acosta, 343 F. Supp. 3d at 113.

                        c. Resolution of Actual Claims

        Third, the Court finds that the Consent and Proposed Final Judgment reflect a resolution

 of the actual claims in the Amended Complaint relating to Defendants and Relief Defendant Yue.

 “Where a proposed decree resolved ‘the actual claims in the complaint’ by establishing ‘a remedial

 plan aimed to address and update the allegedly unlawful’ conduct outlined in the complaint, courts

 have found that this factor from Citigroup has been satisfied.” Cruz v. JKS Ventures, Inc., No. 23-

 CV-8311 (LJL), 2024 WL 3209398, at *7 (S.D.N.Y. June 25, 2024) (quoting In re NYC Policing

 During Summer 2020 Demonstrations, 2024 WL 476367, at *17). In particular, “[i]t should be

 uncontroversial . . . that a proposed consent decree in an SEC enforcement case that grants

 disgorgement and enjoins a defendant from violating the federal securities laws clearly reflects a

 resolution of claims brought under the anti-fraud provisions of those statutes.” N.Y.C. Hous. Auth.,

 347 F. Supp. 3d at 205.

        Here, the Consent and Proposed Final Judgment expressly resolve the claims alleged by

 the SEC against Defendants and Relief Defendant Yue, and provide the SEC with the relief sought

 in the Amended Complaint. As discussed, the Amended Complaint alleges that, between early

 2010 and late 2017, Defendants fraudulently raised more than $229 million by offering and selling

 limited partnership interests to over 450 Chinese nationals who participated in the EB-5 Immigrant

 Investor Program administered by the USCIS, and then misappropriated those funds for their



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 personal purposes, in violation of Section 17(a) of the Securities Act, 15 U.S.C. §§ 77q(a), and

 Section 10(b) of the Exchange Act, 15 U.S.C. §§ 78j(b) and Rule 10b-5 thereunder, 17 C.F.R.

 § 240.10b-5. (See Am. Compl., Dkt. 98, ¶¶ 1–2, 4, 78–100, 191–96.) The SEC also alleges that

 Defendants’ conduct unjustly enriched Relief Defendants. (See id. ¶¶ 12, 23–26, 197–99.)

 Accordingly, the SEC makes four prayers for relief: (1) injunctive relief permanently enjoining

 Defendants from violating federal securities laws; (2) disgorgement of “all ill-gotten and/or unjust

 enrichment” from Defendants and Relief Defendants as a result of Defendants’ alleged violations,

 plus pre-judgment interest, pursuant to Sections 21(d)(5) and 21(d)(7) of the Exchange Act, 15

 U.S.C. §§ 78u(d)(5) and 78u(d)(7); (3) civil monetary penalties from Defendants pursuant to

 Section 20(d) and Section 21(d)(3); and (4) continued appointment of the Monitor and execution

 of the TRO for the duration of this case. (See Am. Compl., Dkt. 98, at 50–51.) The Consent and

 Proposed Final Judgment directly resolve all four requests, as they demand that Defendants refrain

 from committing future violations of federal securities laws; that Defendants and Relief Defendant

 Yue disgorge all ill-gotten gains and pay pre-judgment interest; that Defendants pay civil monetary

 penalties; and that the Monitor Order and the Preliminary Injunction remain in full force and effect

 until the monetary obligation of Defendants and Relief Defendant Yue have been satisfied. (See

 Consent, ¶ (2) (a)–(c), (g); Proposed Final J., Parts I–V.) As such, the relief provided in the

 Consent and Proposed Final Judgment dispenses with the entirety of the SEC’s claims alleged

 against Defendants and Relief Defendant Yue in the Amended Complaint. The Court therefore

 finds that the Consent and Proposed Final Judgment satisfy the third Citigroup factor.

                        d. Improper Collusion or Corruption

        There is no indication in the record to suggest that the Consent and Proposed Final

 Judgment are the result of improper collusion or corruption. In examining whether a proposed



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 consent decree satisfies this factor, courts “have considered whether the settlement resulted from

 arm’s-length negotiation, the sophistication of the parties and competence of counsel, and the

 extent to which the proposed decree reflects adversarial negotiations.” NYC Housing Auth., 347

 F. Supp. 3d at 207.

        Here, this factor must be viewed in the context of the extensive litigation history of this

 case. On January 23, 2024—more than two years after this lawsuit was initiated—the Parties

 reached a settlement in principle, and Defendants and Relief Defendant Yue delivered to the SEC

 “a signed and notarized consent to judgment reflecting the [P]arties’ agreement in principle.” (Dkt.

 388, at 1.) 9 Subsequently, after the Parties had reached resolution on all then-outstanding matters

 surrounding the settlement in principle (see Dkt. 435), the settlement was submitted to the

 Commission for review (see Dkt. 440). On June 21, 2024, the Commission finally approved the

 terms of the settlement in principle. (See Dkt. 443.)

        The Parties’ settlement agreement was the product of over two years of intense negotiations

 at arms’ length. (See, e.g., 5/27/2022 Letter (the Parties’ joint request for a settlement conference);

 6/30/2022 Docket Order; 7/22/2022 Letter (the Parties’ joint request to adjourn the settlement

 conference scheduled for 7/25/2022 sine die); 7/25/2022 Docket Order; 4/17/2023 Docket Order;

 6/5/2023 Docket Order; Dkt. 337 (the Parties’ joint status update regarding settlement

 negotiations); 8/10/2023 Docket Order; Dkt. 338 (noting the impasse in the Parties’ settlement

 negotiations); 8/30/2023 Docket Order; 10/3/2023 Docket Order; 10/12/2023 Docket Order;

 10/20/2023 Docket Order (granting the Parties’ extension request to accommodate their additional

 settlement negotiations); 11/3/2023 Docket Order; 12/1/2023 Docket Order (noting impasse in the



        9
         Subsequently, on April 12, 2024, Defendants and Relief Defendant Yue delivered to the
 SEC a signed, revised Consent to a final judgment. (See Dkt. 415; 4/12/2024 Docket Order.)

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 Parties’ settlement negotiations); Dkt. 388 (informing the Court that the Parties have reached a

 settlement in principle); 1/24/2024 Docket Order; 4/4/2024 Docket Order; 4/12/2024 Docket

 Order; 6/3/2024 Docket Order; 6/16/2024 Docket Order; 6/22/2024.) In particular, the settlement

 resulted from several settlement conferences conducted by this Court over the course of

 approximately two years (see 6/28/2022 Min. Entry; 5/12/2023 Min. Entry; 9/8/2023 Min. Entry;

 4/11/2024 Min. Entry), following about 22 months of discovery overseen by three different

 Magistrate Judges assigned to this case over the course of this action 10 (see, e.g., 1/5/2022 Docket

 Order; 1/10/2022 Docket Order; 6/7/2022 Docket Order; 10/25/2022 Docket Order; 11/2/2022

 Docket Order; 11/15/2022 Docket Order; 11/25/2022 Docket Order; 12/2/2022 Docket Order;

 3/17/2023 Docket Order; 4/7/2023 Docket Order; 4/20/2023 Docket Order; 5/8/2023 Docket Order;

 5/22/2023 Docket Order; 11/16/2023 Docket Order; 11/26/2023 Docket Order; 11/29/2023 Docket

 Order; 12/1/2023 Min. Entry & Order). The Parties had ample opportunity to take testimony,

 review documents, and assess the strengths and weaknesses of their cases. Furthermore, the record

 provides no basis for finding that the SEC counsel and counsel for Defendants and Relief

 Defendant Yue are not highly competent and experienced. In light of this record, the Court finds

 that the Consent and Proposed Final Judgment are not tainted by any improper collusion or

 corruption and therefore satisfy the fourth factor. Cf. Cruz, 2024 WL 3209398, at *8 (finding

 evidence of improper collusion in connection with the first proposed consent decree because it was

 “reached in a hurried fashion within days of Defendant having been served with the Complaint”).

                                              *        *      *




        10
           The three Magistrate Judges are the Honorable Cheryl L. Pollak, the Honorable Ramon
 E. Reyes, and the Honorable Joseph A. Marutollo.

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        Accordingly, because the Court finds that the Consent and Proposed Final Judgment satisfy

 all four Citigroup factors, it concludes that the Consent and Proposed Final Judgment are fair and

 reasonable.

                2.      The Injunctive Relief Does Not Disserve the Public Interest

        Because the Consent and Proposed Final Judgment include injunctive relief, the Court

 “must also consider the public interest in deciding whether to grant the injunction.” Citigroup,

 752 F.3d at 296 (citing eBay, 547 U.S. at 391; Salinger v. Colting, 607 F.3d 68, 80 (2d Cir. 2010)).

 Courts in this Circuit have approved consent judgments when the judgments do not “bar[] private

 litigants from pursuing their own claims independent of the relief obtained under the consent

 decree,” id. at 297, or when “no participants in [the] proceeding have set forth a legitimate basis

 for concluding that the consent decree would harm the public[.]” Caledonian Bank, 317 F.R.D. at

 374.

        Here, the Court finds that there is no evidence that the public interest would be disserved

 if the Consent and Proposed Final Judgment, including the injunctive relief, were approved. On

 the contrary, based on the Court’s knowledge of the case, it is clear that the Consent and Proposed

 Final Judgment serve the public interest, especially the EB-5 investors’ interests, both financially

 and in terms of their immigration status. As the SEC represents, “the settlement terms set forth in

 the Consent and Proposed Final Judgment obtain substantial relief for the EB-5 [i]nvestors and

 offer those investors the opportunity to be returned the entirety of the money that was fraudulently

 obtained from them and also to attempt to remain in the EB-5 program to continue to pursue

 permanent residency status, if permissible under applicable laws.” (SEC Br., at 10.) The Court

 also finds that the monetary relief provided for in the Consent and Proposed Final Judgment “is

 significant and may deter both Defendants and others from engaging in conduct like that alleged”

 in this case. (Id.) Moreover, the Consent and Proposed Final Judgment will promote the SEC’s
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 “goals of imposing liability on the persons and entities whom the SEC believes are responsible for

 securities law violations, reduce the continued expenditure on public funds on lengthy litigation,

 and provide[] a prompt and effective response to alleged securities violations that offers a degree

 of certainty to the EB-5 [i]nvestors.” (Id. at 10–11.) Additionally, as the SEC notes, the entry of

 the injunctions enjoining Fleet from participating in future securities offerings and largely barring

 Xia from future securities offerings is appropriate and would not disserve the public interest. (Id.

 at 11.)

           In addition, the Consent and Proposed Final Judgment do not prevent private litigants, e.g.,

 the EB-5 investors, from bringing a damages action against Defendants based on substantially the

 same facts as alleged in the Amended Complaint in this case. (See Consent, ¶ 7; Proposed Final

 J., Part VI.) Finally, neither Defendants and Relief Defendant Yue nor any other parties in this

 action have opposed the Consent and Proposed Final Judgment or otherwise argued that they

 would harm the public interest.

           Thus, the Court concludes that the Consent and Proposed Final Judgment serve the public

 interest.

                                                *        *      *

           Giving due deference to the Circuit’s strong policy favoring the approval and enforcement

 of consent decrees and the desires of the Parties seeking to approve the Consent and enter the

 Proposed Final Judgment, the Court finds that the Consent and Proposed Final Judgment are fair

 and reasonable and that they comport with the public interest. In light of the foregoing, the Court

 approves the Consent and enters the Proposed Final Judgment.

 II.       The Appointment of a Distribution Administrator is Warranted

           The SEC also requests that the Court appoint a distribution administrator and specifically

 recommends the appointment of Robert Seiden as the distribution administrator for the purposes
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 of implementing the distribution process agreed to by the Parties in order to preserve the rights of

 the EB-5 investors. (See SEC Br., at 7, 11–12.) For the reasons explained below, the Court finds

 that the circumstances warrant the appointment of Mr. Seiden to oversee the administration of the

 distribution process in accordance with the terms of the settlement.

         A.      Legal Standard

         The Second Circuit has recognized the equity powers of district courts to appoint

 distribution administrators, trustees, or receivers “to effectuate the purposes of the federal

 securities laws.” SEC v. Manor Nursing Ctrs., Inc., 458 F.2d 1082, 1105 (2d Cir. 1972), abrogated

 on other grounds by SEC v. Ahmed, 72 F.4th 379 (2d Cir. 2023); see also id. (finding appointment

 of trustee “to receive [] funds, to distribute them to defrauded public investors[,] and to report to

 the court on the true state of affairs” was “an appropriate exercise by the district court of its equity

 powers”); SEC v. Am. Bd. of Trade, Inc., 830 F.2d 431, 436 (2d Cir. 1987) (“Although neither the

 [Securities Act] nor the [Exchange Act] explicitly vests district courts with the power to appoint

 trustees or receivers, courts have consistently held that such power exists[.]”); 15 U.S.C.

 § 78u(d)(5) (“In any action or proceeding brought or instituted by the [SEC] under any provision

 of the securities laws, the [SEC] may seek, and any Federal court may grant, any equitable relief

 that may be appropriate or necessary for the benefit of investors.”). Courts in this Circuit have

 used such equity powers to appoint distribution administrators to oversee the administration and

 distribution of fair funds. See, e.g., SEC v. Arista Power, Inc., No.17-CV-4598 (GHW), 2021 WL

 3774316, at *2 (S.D.N.Y. Aug. 25, 2021) (appointing a distribution agent for the Fair Fund “to

 oversee the administration and distribution of the Fair Fund in coordination with the SEC’s counsel

 of record pursuant to the terms of a distribution plan” that was to be approved by the court); SEC

 v. Bear, Stearns & Co., No. 3-CV-2937(WHP), 2004 WL 434190, at *1 (S.D.N.Y. Feb. 6, 2004)

 (appointing a distribution fund administrator in an SEC enforcement action to be “charged with
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 developing and administering the Distribution Fund Plans for each Distribution Fund . . . ,

 distributing monies to eligible recipients, and dealing with the general administration and financial

 reporting duties of the various Distribution Funds”).

         B.      Analysis

         After careful consideration of the experience and qualifications of Mr. Seiden and his law

 firm, as well as the unique circumstances of this case, the Court finds that the appointment of Mr.

 Seiden as the distribution administrator is warranted. Mr. Seiden is qualified for the tasks required

 to implement the distribution process here. Mr. Seiden, the Managing Partner of Seiden Law LLP,

 has specialized experience serving as a court-appointed receiver to assist the court and parties in

 administering and distributing funds for shareholders, creditors, and litigants, both domestically

 and overseas. (See Seiden Curriculum Vitae, Dkt. 450-5, Ex. 3, at ECF 2.) As such, Mr. Seiden

 is familiar with the duties and responsibilities of a receiver/distribution administrator in a situation

 such as this. Importantly, Mr. Seiden has substantial experience with China-related investment

 frauds, and his law firm has experience with securities matters, EB-5-related issues, and real estate.

 (See id. at ECF 4–5.) In particular, Mr. Seiden’s firm maintains an office in China and employs

 attorneys who are fluent in Mandarin and who have experience in China-related matters, which

 will be helpful in carrying out the distribution administrator’s duties in this case, including

 communicating with and answering questions from the EB-5 investors. (See id. at ECF 4; SEC

 Br., at 7.) Furthermore, Defendants and Relief Defendant Yue do not oppose Mr. Seiden’s

 appointment. (See SEC Br., at 1.)

         Therefore, the Court finds it appropriate to exercise its equity powers to appoint Mr. Seiden

 as the distribution administrator to implement the distribution process set forth in the Parties’

 settlement agreement.



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                                         CONCLUSION

        Based upon the foregoing, the SEC’s Motion for Approval of Consent Settlement, Entry

 of Final Judgment, and Entry of Order Appointing a Distribution Administrator is granted. The

 Court will enter the Proposed Final Judgment and the Proposed Order Appointing Distribution

 Administrator. The Consent will also be separately docketed. 11


                                                     SO ORDERED.


                                                     /s/ Pamela K. Chen
                                                     Pamela K. Chen
                                                     United States District Judge
 Dated: July 26, 2024
        Brooklyn, New York




        11
           The Court will issue the Consent and Proposed Final Judgment with one correction:
 Paragraph 2(e) of the Consent and Part V(b) of the Proposed Final Judgment erroneously identify
 the date on which the Court issued the Monitor Order as September 27, 2022; that order was issued
 on September 27, 2021, in conjunction with the Court granting the SEC’s TRO motion. (See Dkt.
 11.)

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